




NO. 07-07-0407-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



FEBRUARY 20, 2008



______________________________





MARVIN G. HOLMES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 252ND DISTRICT COURT OF JEFFERSON COUNTY;



NO. 94328; HONORABLE LAYNE WALKER, JUDGE



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

MEMORANDUM OPINION

Pending before this Court is Marvin G. Holmes’s Motion to Dismiss Appeal in which he requests that his notice of appeal be withdrawn and the appeal be dismissed. &nbsp;As required by Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by Appellant and his attorney. &nbsp;No decision of this Court having been delivered, the motion is granted and the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice







Do not publish.


